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                   9                             UNITED STATES DISTRICT COURT
              10                               CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 14-cv-03650-FMO(FFMx)
              12                                                  Consolidated with Case No. 15-cv-02628-
                                           Plaintiff,             FMO
              13
                                v.                                Assigned To: Hon. Fernando M. Olguin
              14
                        VIKTOR KHRAPUNOV, et al.,                 REQUEST FOR JUDICIAL NOTICE
              15                                                  IN SUPPORT OF PLAINTIFF CITY
                                           Defendants.            OF ALMATY’S REQUEST TO
              16                                                  STRIKE AND, IN THE
                                                                  ALTERNATIVE, OPPOSITION TO
              17                                                  DEFENDANT DANIEL
                                                                  KHRAPUNOV’S MOTION TO
              18                                                  DISMISS FIRST CONSOLIDATED
                                                                  AMENDED COMPLAINT
              19
                                                                  Proposed Order; Plaintiff’s Request to
              20                                                  Strike and, in the Alternative, Opposition
                                                                  to Defendant Daniel Khrapunov’s Motion
              21                                                  to Dismiss First Consolidated Amended
                                                                  Complaint Filed Concurrently Herewith
              22
                                                                  Action Filed:     May 13, 2014
              23
                                                                  Hearing Date: May 10, 2018
              24                                                  Hearing Time: 10:00 a.m.
                                                                  Courtroom:    6D
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              27
              28
                       US-DOCS\100674537                                   REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES
                                                                           REQUEST TO STRIKE AND, IN THE ALTERNATIVE,
                                                                        OPPOSITION TO DANIEL’S MOTION TO DISMISS FCAC
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                   1            Pursuant to Federal Rule of Evidence 201, Plaintiff the City of Almaty
                   2 (“Plaintiff”) hereby requests that this Court take judicial notice of two orders in
                   3 another court proceeding described below. This request, and the documents for
                   4 which it seeks judicial notice, is submitted in support of Plaintiff’s Request to
                   5 Strike and, in the Alternative, Opposition to Defendant Daniel Khrapunov’s
                   6 Motion to Dismiss First Consolidated Amended Complaint filed concurrently
                   7 herewith.
                   8 I.         DESCRIPTION OF DOCUMENTS
                   9            Plaintiff respectfully requests that this Court take judicial notice of the
              10 following documents, which are attached as exhibits hereto:
              11                1.         A Civil Conference Minute Order, dated November 17, 2016 (Dkt.
              12                           No. 22), issued by Judge Orenstein, Magistrate Judge of the Eastern
              13                           District of New York, in Application of City of Almaty for Order to
              14                           Take Discovery Pursuant to 28 U.S.C. 1782, No. 16-mc-00623-WFK-
              15                           JO, a true and correct copy of which is attached hereto as Exhibit A.
              16                2.         A Civil Conference Minute Order, dated November 18, 2016 (Dkt.
              17                           No. 26), issued by Judge Orenstein, Magistrate Judge of the Eastern
              18                           District of New York, in Application of City of Almaty for Order to
              19                           Take Discovery Pursuant to 28 U.S.C. 1782, No. 16-mc-00623-WFK-
              20                           JO, a true and correct copy of which is attached hereto as Exhibit B.
              21 II.            THE DOCUMENTS ARE JUDICIALLY NOTICEABLE
              22                In ruling on a motion to dismiss, courts may consider materials that are
              23 judicially noticeable under Rule 201 of the Federal Rules of Evidence. Lee v. City
              24 of Los Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001). Under Rule 201, a court
              25 may take judicial notice of facts that are “not subject to reasonable dispute”
              26 because they are “generally known within the trial court’s territorial jurisdiction”
              27 or “can be accurately and readily determined from sources whose accuracy cannot
              28 reasonably be questioned.” Fed. R. Evid. 201(b). A court must take judicial notice
                       US-DOCS\100674537                                          REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                                           1         REQUEST TO STRIKE AND, IN THE ALTERNATIVE,
                                                                               OPPOSITION TO DANIEL’S MOTION TO DISMISS FCAC
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                   1 at a party’s request when “supplied with the necessary information.” Fed. R. Evid.
                   2 201(c).
                   3            Pursuant to Rule 201, courts routinely take judicial notice of the findings and
                   4 orders of other courts, as well as pleadings in other court proceedings. Callan v.
                   5 New York Cmty. Bank, 643 F. App’x 666, 666-67 (9th Cir. 2016) (affirming
                   6 judicial notice of complaint, demurrer and judgment in another case in ruling on a
                   7 motion to dismiss); Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746
                   8 n.6 (9th Cir. 2006) (courts “may take judicial notice of court filings and other
                   9 matters of public record”); Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186,
              10 191 (D.D.C. 2017) (taking judicial notice of factual findings in other proceedings
              11 regarding the defendant’s support of a terrorist organization).
              12                For the reasons set forth above, Plaintiff respectfully requests that this Court
              13 take judicial notice of the documents described above and attached hereto.
              14 Dated: April 19, 2018                        LATHAM & WATKINS LLP
              15                                                     By    /s/ Jonathan M. Jackson
                                                                          David J. Schindler
              16                                                          Jonathan M. Jackson
                                                                          Kendall M. Howes
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                                                                     Attorneys for Plaintiff the City of Almaty
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                       US-DOCS\100674537                                        REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                                        2          REQUEST TO STRIKE AND, IN THE ALTERNATIVE,
                                                                             OPPOSITION TO DANIEL’S MOTION TO DISMISS FCAC
